          IN THE CIRCUIT COURT FOR SULLIVAN COUNTY, TENNESSEE
                                           AT-KLNGSPORT




 COLUMBIA INSURANCE GROUP                            )
                                                     )
         Plaintiff,                                  )
                                                     )
 VS.                                                 )           NO.
                                                     )
 DALIBOR VUCINAC and                                 )                                                 i -J I


 TOUCH TRANSPORT INC.                                )
                                                     )                         gfetai
         Defendants .                                )                         Bobby L Russell     (             DC
                                                                                 CIRCUIT COURT CtHWr
                                    COMPLAINT FOR DAMAGES


         Comes     the      plaintiff,        Columbia           Insurance       Group,         and    would

 respectfully         show unto      the    Court        that:

         1.      Plaintiff,         Columbia         Insurance          Group,       is    an    insurance

 carrier,     authorized to do business in the state of Tennessee,                                              The


 plaintiff     was     the    insurer       of    the     Randy        Wood    Trust       on   August           9,

 2018.    The Randy Wood Trust was the owner of storage units located

 at 217 Sandy Point Drive,                 Blountville,          Sullivan County,               Tennessee.

         2.      Defendant         Dalibor Vucinac is believed to be a resident

 of Schaumburg,         Cook County,          Illinois.

         3.      Defendant Touch Transport                   Inc.,       at    all   times hereafter


 mentioned,      was,       and    still    is   a   corporation,             duly organized           under

 the   laws   of   the      State    of     Illinois,       with       offices       in    Willowbrook,

 Dupage County,         Illinois.

         4.      The    accident      underlying this              lawsuit       occurred at           217


 Sandy Point       Drive     in Sullivan County,                 Tennessee.

         5.      On August 9,         2018,      defendant Dalibor Vucinac was driving

 defendant       Touch       Transport        Inc.'s       2009        Kenworth       semi       north           on


 Interstate      81    in    the    right    lane.         Defendant          Dalibor Vucinac              left

 the   roadway     on       the    right    side,        traveled        through          the   grass           and




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 struck plaintiff's          insured's      storage     units     located         at   217     Sandy

 Point   Drive,   Blountville,           Sullivan County,         Tennessee.            Defendant


 Dalibor Vucinac was          on    or   about    the business         of defendant            Touch

 Transport     Inc.          Defendant      Touch     Transport            Inc.       negligently

 entrusted its 2009 Kenworth semi to defendant Dalibor Vucinac.

         6.    Defendants were negligent              in:

         a.    Unreasonably failing to properly control the movement,
               momentum, or direction of travel of defendant's vehicle
               so as to avoid the resulting collision;

         b.    Unreasonably failing to maintain a safe                          lookout;

         c.    Unreasonably failing to use the degree of care and skill
               required under the existing circumstances to provide for
               the safety of persons properly upon the roadway;

         d.    Unreasonably failing to devote full time and attention
               to the    operation of defendant's vehicle;

         e.    Unreasonably endangering the health,                        life    and property
               of others properly upon the roadway;

         f.    Unreasonably colliding with plaintiff's real property;

         g.    Failing       to   avoid the      accident;

         h.    Driving the defendant's               vehicle      at       an   excessive       and
               reckless rate of speed.

         i.   Acting in a gross, reckless, outrageous, and negligent
              manner with a conscious disregard for the safety and
              well-being of others.

         7.    Defendants were negligent              in violating the                following

 Tennessee    statutes.


         TENNESSEE    STATE       STATUTES:


         a.   T.C.A.     §   55-8-123.        Driving        on       Roadways         Laned    for

              Traffic.

         b.   T.C.A.    §    55-8-136.        Drivers   to Exercise             Due    Care.

         c.   T.C.A.    §    55-8-152.        Speed Limits        -    Penalties.

         d.   T.C.A.    §    55-8-153.        Establishment           of   Speed      Zones.




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            e.         T.C.A.      § 55-10-205.            Reckless Driving.

            8.         Defendants' negligence proximately caused the accident.

            9.         Plaintiff          paid       its    insured             for    property    damage       of

 $85,466.35.             Attached is plaintiff's affidavit.

            10.        The date of loss was August                         9,    2018.

            11.        By virtue of its                insurance contract with its                      insured,

 and by virtue of the payments made under the contract,                                            plaintiff,

 Columbia         Insurance           Group,         is    entitled         to    be     subrogated      to    the

 rights of its insured,                       and is entitled to bring for its own use and

 benefit         any     action          for    damages         which      its        insured   have     against

 defendants .

            12.        The sums paid by plaintiff to its                              insured and on behalf

 of   its      insured        as     a    consequence           of   the        August    9,    2018,    traffic

 accident         were        paid       as    the    direct         and    proximate          result    of    the


 negligence of defendants,                       Dalibor Vucinac and Touch Transport Inc.

          WHEREFORE,            PLAINTIFF            DEMANDS:


          1.           That    all proper process                 issue,         requiring defendants           to


 appear          and    make       defense        to       this      complaint,          but    the     oath    to

 defendants'            answer       is   expressly waived.

          2.           That upon the hearing of this cause plaintiff,                                   Columbia


 Insurance         Group,       be    awarded a           judgment         against       defendants      Dalibor


 Vucinac         and    Touch      Transport           Inc.,      for      $85,466.35,          plus    interest

 from    the      date    of    loss,          August      9,   2018,       to    date    of    judgment,      and


 court    costs.




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          3.      That plaintiff have such other relief to which it may be

 justly       entitled   in    this   cause.




                                               JOHN R. /2HEADLE, JR.   (6053)
                                               MARY BARNARD CHEADLE    (27084)
                                               Attorneys   at Law
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                                               Nashville, Tennessee     37215
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                                               i cheadle@cheadlelaw . com
                                               mcheadle@cheadlelaw. com




          I    am surety      for   all   costs.



                                               JOHN R./ CHEADLE, JR.   (6053)
                                               MARY BARNARD CHEADLE    (27084)



       This is an attempt to collect a debt and any information
 obtained will be used for that purpose, This communication is from
 a debt collector.  (p.csub2; 21000151)



                                                                          I HEREBY CERTIFY THIS
                                                                          IS A TRUE AND CORRECT
                                                                          COPY OF THE ORIGINAL
                                                                           FILED IN THIS CAUSE"'

                                                                       332J IS-am
                                                                             Bobby L. Russell
                                                                          CIRCUIT COURT CLERK




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                                         MTXPAYIT

   STATE OF    MICHIGAN
   COUNTY OF   OAKLAND


           The undersigned, first being duly sworn, makes oath in accordance
   with Rule 80 3; (.6), Tennessee RulQg gf Evidence, and T.C.&, § 24 -5-115 ,
   pertaining to the subrogation claim against Dalibor Vucinac                                     and Touch
   Transport Inc. as follows::

           In my capacity with the business, I have knowledge and a business
   duty to record or transmit information kept in the course of a regularly
   conducted business activity, and it was the regular practice of the
   business to make the memorandum, report, or record or data compilation.
   I am familiar with the books and records of the business and, in
   particular, I am familiar with the books and records as they pertain to
   this matter.

           The books and records referred                 to herein             are made in                      the
   ordinary,  customary, usual, and routine                course of            business and                     the
   entries ore made at or near the time of the transaction to which they
   refer.

           Any documents attached to this Affidavit are the business records
   of the plaintiff and were made in the regular course of business at or
   near the time of the act, condition, or event to which they refer.

            The damages to the property owned by Columbia Insurance Group 1 s
   insured total $85,466.35.   Defendant's negligence proximately caused the
   damages.     The plaintiff paid its    insured the above   sum,  less any
   deductible, and is entitled to recover from the defendant.

             Further,    the deponent saith not.


                                                   COLUMBIA            INSURANCE GROUP



                                                   By:
                                                               ~7
                                                   Title:            Authorized Representative

                                                                                        cK
            SWORN   TO   AND    SUBSCRIBED   before      me         this
                                                                                £                        day       of
   V-ib ,                      « 2021,
                                                                                ^3
                                                   NOTARY PUBLIC                                      7
   MY COMMISSION EXPIRES: Feb ^
    Uff .sub) ' (2100015-1)                                                                    RUTH BEDFORD
                                                                                      Notary Public. State of Michigan
                                                                                           ' County of Oakland
                                                                                        My Commission Expires Feb. 24, 2023
                                                                                     Actiiig in tfra County oi
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